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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 IN RE: M/V JOANNA

                                                       MISC. NO. 21-mc-592




                                     ORDER AND REASONS

       Before the Court is the Motion of Warlito Tan to Quash or Vacate Warrant and for Prompt

Release from Constructive Detention or to Modify Conditions of Release and to Take Deposition,

to Declare that the Government May Not Impose by Contract or Otherwise Extra-Judicial

Conditions on Chief Tan’s Liberty, and for Expedited Briefing and Hearing (Rec. Doc. 20), in

which Haldun Akkaya, Nimuel Nalagon, Louie Gonzaga, Gerone Bernabe, Manuel Magayon

Baliad II, and Beinvenido Cabanayan join (Rec. Doc. 26) (together “witnesses”). The government

opposed (Rec. Doc. 36). The witnesses filed a reply (Rec. Doc. 37). Oral argument was held April

21, 2021. Thereafter, the witnesses filed additional briefs on May 21, 2021 (Supplemental Memo,

Rec. Doc. 56), and June 15, 2021 (Supplemental Memo, Rec. Doc. 77). In addition, beginning on

May 17, 2021, the court held periodic status conferences to determine the government’s continued

need for the witnesses. For the following reasons, the Motion to Quash is DENIED except as to

the issue of whether the grand jury proceeding and the anticipated future court proceeding are

separate proceedings requiring separate material witness warrants, which the court hereby takes

under submission. The government shall file a memorandum addressing its position on this issue

by July 2, 2021. Further, the court will continue to require the government to report to it bi-weekly.




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                                                  Background

        This miscellaneous action was initiated by the Motion for Issuance of Material Witness

Warrants by the United States of America on March 25, 2021, which was accompanied by the

affidavit of Special Agent Jason Wyle of the Coast Guard Investigative Service of the United States

Coast Guard. The subject witnesses are members of the crew of the MV JOANNA, they are foreign

nationals, and they are believed by the government to have evidence material to the investigation

of suspected criminal violations of the Act to Prevent Pollution from Ships (“APPS”), the

International Convention for the Prevention of Pollution from Ships, as modified by the Protocol

of 1978 (“MARPOL”), and the Port and Waterways Safety Act (“PWSA”). The affidavit described

the investigation, beginning with the examination of the ship on March 11, 2021, shortly after its

arrival in the United States. At that time, the Coast Guard discovered evidence of an unauthorized

modification of required pollution prevention equipment. As a result, the government believes the

vessel’s Oil Record Book (“ORB”) contains false entries and omissions that concealed discharges

made in violation of MARPOL. The Coast Guard also discovered evidence of an unauthorized

modification to a fuel oil heater safety relief valve piping outlet, giving the government reason to

believe the vessel had an unreported hazardous condition in violation of PWSA. The undersigned

issued the arrest warrants and at their initial appearances on March 25, 2021, ordered the

witnesses 1 to remain in the Eastern District of Louisiana until further notice and to relinquish their

passports to the court.

        On March 29, 2021, Chief Engineer Warlito Tan filed the present Motion to Quash or

Vacate Warrant and for Prompt Release from Constructive Detention or to Modify Conditions of



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  Captain Haldun Akkaya was allowed to leave the Eastern District of Louisiana to live with his wife and/or daughter
in Boston during the pendency of the Grand Jury proceedings. He is required to remain in the Eastern District of
Louisiana or the District of Massachusetts and was also required to relinquish his passport.

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Release and to Take Deposition, to Declare that the Government May Not Impose by Contract or

Otherwise Extra-Judicial Conditions on Chief Tan’s Liberty. The other witnesses joined in the

motion.

        After the filing of Tan’s motion, he learned that his father in the Philippines had passed

away. The court held a status conference with the parties and then a hearing at which the court

ordered that Tan be allowed to travel to the Philippines from April 8, 2021, to May 20, 2021.

Evidence of his round trip ticket was provided. His passport was returned to him. He was required

to sign a $10,000 unsecured appearance bond, relinquish his seaman’s book, and ordered to appear

for a status hearing on May 24, 2021, at which time he would be required to relinquish his passport.

        The court set a briefing schedule on the Motion to Quash and set oral argument for April

21, 2021. After a two and a half hour oral argument, unconvinced that the witnesses had

demonstrated that the material witness warrants should be quashed immediately, the court took the

matter under advisement and began conducting periodic status conferences with counsel for the

government and the witnesses to determine the government’s continued need for the witnesses, as

well as to check on the well-being of the witnesses. 2 During the May 17, 2021, status conference

the court determined that the government did not need Tan on the date he was originally required

to return. The court modified its order to require him to return to this district on June 10, 2021.

        On June 11, 2021, counsel notified the court at approximately 1:30 p.m. of a forthcoming

motion to allow Bernabe to return to the Philippines for the funeral services of his mother who had

passed away that day. Just as with Tan, all parties moved most expeditiously (over the course of




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  Following up on a comment that the witnesses feared contracting COVID, the court required that vaccines be
immediately made available at the employer’s expense. Four of the five local witnesses were then vaccinated. (Akkaya
was in Boston; Tan was in the Philippines.) Responding to counsel’s comment that the crew were bored and frustrated,
the court suggested English lessons be made available to the crew, or other personal enrichment opportunities to fill
their days, but this idea was rejected by their counsel.

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one afternoon), to make this happen on a timely basis on similar conditions as for Tan’s travel to

the Philippines.

       Having determined that a ruling is now necessary to resolve some of the underlying legal

issues, the court takes up the witnesses’ motion. The witnesses argue that the warrants should be

quashed because government investigations are not “criminal proceedings” within the meaning of

the Material Witness Statute. At the time they filed their motion, there was no grand jury

proceeding pending. Shortly thereafter, however, the grand jury proceeding was initiated. Because

there has been a grand jury proceeding pending for nearly the entire operative time, the court will

not address the witnesses’ argument that the Material Witness Statute is inapplicable before a

grand jury investigation has begun.

       The witnesses also argue that a grand jury investigation does not qualify as a criminal

proceeding within the meaning of the Material Witness Statute. They argue that given the serious

constitutional issues raised by the prolonged detention of the witnesses, ambiguity in the statute

must be construed to protect the witnesses’ rights. The witnesses also argue that detaining them

without offering immunity consistent with 18 U.S.C. §6002 violates their fundamental

constitutional rights by holding them indefinitely and without probable cause pending a potential

criminal charge. The witnesses argue that even if a criminal proceeding were pending, the court

should exercise its discretion not to hold the witnesses because MARPOL and APPS contemplate

flag state enforcement, because the penalties historically imposed demonstrate that an

infringement of liberty is not warranted, and because the witnesses’ testimony can be secured

without detaining them. They argue that the regulations were not intended to make possession of

inaccurate, incomplete, or misleading ORB entries a crime against the United States and the

witnesses cannot be prosecuted for entries made on the High Seas where United States law did not



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apply. In the alternative, even if the warrant is not stricken, they argue that they should be allowed

to go home immediately after an expedited deposition. Tan argues that the government should not

be allowed to impose additional, extra-judicial conditions on his liberty that it negotiated with his

employer—such as requiring that he be sequestered from the rest of the crew in a different, out of

the way hotel.

        The government opposes. It submits that the Second Circuit Court of Appeals in United

States v. Awadallah, 349 F.3d 42 (2d Cir. 2003) has held that a grand jury proceeding is a criminal

proceeding under the Material Witness Statute and that no other circuit has held otherwise. It

further argues that the statute does not violate the Fourth Amendment, pointing out that the

witnesses have cited no precedent holding to the contrary. The government argues that full

immunity under 18 U.S.C. § 6002 is not appropriate at this time, though it notes it has begun the

process to obtain authority to compel their testimony pursuant to that statute. It points out that it

sought to informally proffer the material witnesses, but they rejected what the government

describes as its standard practice. Pursuant to a proffer letter, the witness is granted limited use

immunity but not derivative use immunity. The government submits that its standard procedure is

to obtain information from the witness pursuant to a proffer letter first so that it can determine the

value of the testimony, a factor to be considered when it certifies that the testimony may be

necessary to the public interest as required to grant § 6002 immunity. The government says that it

may decide that additional investigation is needed to proceed to immunize some, all, or none of

the material witnesses. 3

        The government also argues that the movants’ arguments regarding MARPOL, APPS, and

international law are inapposite and contrary to controlling Fifth Circuit precedent. It insists that a


3
  Since the filing of the motion, all of the witnesses except Tan and Akkaya have been granted immunity and have
testified at least once before the grand jury.

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person can be liable for failing to maintain an ORB in violation of federal regulations when the

alleged discharges and false entries were made in international waters. It argues that jurisdiction

for MARPOL violations is not limited to the flag state. The government adds that none of the

movants’ arguments have any bearing on the apparent violation of the PWSA, which is alleged to

have occurred entirely within this district.

       With regard to movants’ request for Rule 15 depositions, the government submits that

depositions within 14 days are not feasible. It points out that the Court has already determined that

the witnesses’ testimony is material and that it would be impracticable to secure their presence by

subpoena. The government notes that if the witnesses were not subject to the warrants, they would

be working aboard the MV JOANNA until at least July 2021. It says the witnesses are effectively

on shore leave—they are being paid their wages, hotel, and receiving a federal per diem

allowance—and the arrangements are not interfering with their anticipated away-from-home

schedules. The government says that although the witnesses have expressed a willingness to return

to the United States, no assurance can actually be provided. The government submits that it is

likely that they will be employed aboard a vessel at the time they are needed for trial and it probably

will not be possible to serve them with a trial subpoena. The government argues that the release of

the witnesses now would result in a failure of justice by preventing the United States from properly

investigating violations of federal criminal law. It points out that an investigation has numerous

steps and if depositions were held now, the questions would be speculative. It adds that all potential

parties must be allowed an opportunity to participate in the depositions to prevent a future

defendant from arguing that the testimony cannot be used at trial because it had been unable to

meaningfully participate in the deposition to fully develop facts necessary to its defense.

Conducting depositions pre-indictment heightens this risk because without knowing who will be



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indicted, the government cannot know which parties to include in the depositions, nor the charges

and potential theories of liability that will be identified. This, in turn, impacts and impedes the

ability of the parties, government and defendants alike, to prepare and meaningfully participate.

        In reply, the witnesses submit that contrary to the government’s suggestion that actions

taken by the witnesses are actually slowing down the investigation, had they not retained counsel

and requested immunity and protection of their rights, the investigation would likely drag on more

slowly. Counsel retells examples from his own personal experiences where only counsel’s

involvement expedited the investigation and release of the witnesses. The witnesses also challenge

the government’s insistence that immunity cannot be granted promptly, citing an example from

counsel’s experience in Delaware where the Assistant United States Attorney sent a draft §6002

immunity letter to crew counsel two weeks after the crew was forced ashore. 4 The movants also

submit that this case is straightforward and does not require prolonged investigation. They note

that the most reliable information about the operation of the oil water separator (“OWS”) and its

oil content meter is the historic data stored in the meter itself, which was seized in early March.

They point out that all but one of the crew were interviewed by the Coast Guard about the

modification and all explained they had been unaware of it. They submit the government has no

evidence for its theory that the crew is lying, and they point out that the government has not shared

anything revealed from the meter about when the equipment was modified. They attach the

declaration of a seafarer that was detained in a hotel in Louisiana for most of twenty months in a

similar case, documenting his experiences and feelings of depression and anxiety.

        The movants argue that although seafarers are accustomed to working up to six months at

sea, being detained indefinitely in a roadside hotel in the United States is still a hardship. They do


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 At oral argument, the government distinguished this case, noting that there, the Chief Engineer had already plead
guilty by that time.

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not have the satisfaction of working. They are not comforted by knowledge that they will be back

with their families at the end of their voyage. The movants point out that the government presents

no example of a seafarer’s testimony that was lost because he breached a promise to return when

his testimony was needed. They submit that the government holds seafarers at the target’s expense

because it is convenient for government lawyers, it is free to the government, and the expense to

the corporate targets provides negotiating leverage.

       The movants argue that the Awadallah case relied on the government to support use of the

Material Witness Statute for grand jury witnesses does not condone the use of §3144 to detain a

person they intend to charge pending their collection of sufficient evidence to establish probable

cause. They point to Federal Rule of Criminal Procedure 46(h), which requires the government to

submit bi-weekly reports justifying the continued detention of material witnesses, and submit that

the government never submits the required reports in these cases.

       The movants point out that the government does not even try to argue that their use of the

Material Witness Statute during a Coast Guard investigation prior to the initiation of a grand jury

investigation is appropriate. Instead, the government merely submits that the issue is moot because

a grand jury investigation is open now. The movants argue that the government’s failure to defend

its wrongful act shows that the government takes improper liberties with the Material Witness

Statute.

       The movants argue that this court enjoys broad discretion to fashion an order for prompt

depositions. They submit that the government should not be allowed to detain the witnesses during

not only the grand jury proceedings but also whatever criminal proceedings may ultimately arise

out of the grand jury investigation. They argue that the government cites no authority to support

delaying their depositions until after the full development of a criminal case for charges that have



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not been brought. They argue that if an indictment is issued, that will be a separate criminal

proceeding. They submit that the Second Circuit in Awadallah encouraged the use of depositions

to secure testimony from grand jury witnesses and allow their release.

       The movants argue that the government has not explained why the court should not

exercise its discretion to release the witnesses for violations of law largely, if not entirely, outside

the jurisdiction. They argue that the court should exercise its discretion to ensure their prompt

release because MARPOL and APPS contemplate flag state enforcement, which the government

has not shown to be inadequate in this case. They argue that the Department of Justice rarely uses

material    witnesses   warrants—only      about    500   annually    nationwide     outside   of   the

border/immigration context. They further argue that the investigation here primarily relates to the

accuracy of records that the government did not rely upon and an alleged failure to report a vessel

condition that did not cause any damage or incident—a matter typically handled administratively.

They argue that the government never prosecutes violations of PWSA where there is no incident

or damage, unless they do so to bolster a MARPOL/APPS matter and negotiation. They point out

that the government did not mention the PWSA violations in the security agreement with the vessel

owner and operator and the Coast Guard only questioned Chief Engineer Tan and not the other

crew about the valve issue. They further argue that the court should exercise its discretion to ensure

their release because routine issuance of material witness warrants in these cases encourages the

government to treat these seafarers as mere collateral, the government has no estimate for when it

will conclude its grand jury investigation, the government speculates the crew will not return if

released but provides no evidence of same, the crewmen are detained as hostages to drive up the

cost to the corporate target, and the process and uncertainty are cruel and unnecessary.




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       The movants also argue that the Supreme Court has not upheld the material witness statute.

They argue that the Court in Ashcroft v. al-Kidd, 563 U.S. 731 (2011), merely held the Attorney

General was immune from liability if he in fact condoned a policy of securing valid warrants for

pretextual purposes. They insist no court has suggested that the government may arrest witnesses

whom it does not intend to call, to whom it will not grant immunity, and against whom they are

building a case.

       Movant Tan further argues that the security agreement between the government and the

vessel owner and operators deprives him of his civil liberties and violates the Material Witness

Statute. He seeks a declaration that the government may not contract to isolate him. Movants argue

that human beings cannot be held as substitute collateral for the release of vessels and that the

cases cited by the government do not give the government the right to do so.

       The movants challenge the case law cited by the government to show that the Fifth Circuit

interprets MARPOL to criminalize failing to maintain an ORB in violation of federal regulations

when the alleged discharges and false entries were made in international waters. They submit those

cases were wrongly decided. But they do not ask the court to disregard the decisions. They ask the

court to consider MARPOL’s prescribed method for enforcement in exercising its discretion. They

also cite a Fifth Circuit case holding that only a master, and not a chief engineer, can be held liable

for knowingly failing to maintain an accurate ORB.

       In a supplemental memorandum filed May 21, 2021 (Rec. Doc. 56), following oral

argument and the first status conference with the court, the witnesses argue that the government

should be required to take or complete their grand jury testimony promptly via one-party

depositions. They point out that the government’s response to their original motion addressed the

viability of Rule 15 depositions for use at trial but did not address the possibility of taking one-



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party depositions to be used before the grand jury. They also argue that grand jury proceedings are

separate and distinct from potential criminal proceedings and that, therefore, if the government

wishes to detain them as witnesses to a judicial criminal proceeding, it must first initiate that

proceeding by filing a complaint or indictment. They cite examples of statutes and court decisions

that distinguish between court proceedings and grand jury proceedings. They also argue that the

circumstances of this case, based on allegedly misleading records, should not require recalling

witnesses to the grand jury multiple times.

       In yet another supplemental memorandum filed June 15, 2021 (Rec. Doc. 77), after Tan

had returned from the Philippines, Tan submits that he and his family continue to be in distress

and grief over the loss of his father and his ongoing detention. Pointing out that the government

has not scheduled his grand jury or other testimony, he argues that there is no obvious purpose to

his required presence. He argues that now that he has returned, there can no longer be a reasonable

concern that he would not return to provide testimony. He argues that his promise to return

provides reliable and extraordinary reassurance. He further argues that by insisting on additional

assurance, the government is demanding more from a prospective foreign witness than it ever

demands of United States citizens. He argues that it is backwards to impose such extraordinary

requirements on non-citizens while the government gathers evidence of events that occurred

exclusively or primarily outside of this country at what Tan describes as a “snail’s pace.” To the

extent the government would argue that Tan is less likely to return if the government decides to

charge him instead of call him as a witness, Tan submits that he would return to meet any charges.

Further, Tan argues again that it would be improper for the government to use § 3144 to detain a

witness suspected of criminal activity. He insists that if the government has developed probable




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cause to charge, it should charge him promptly via a complaint but he should not continue to be

held as a witness to circumvent his rights.

                                         Law and Analysis

   1. Material Witness Statute

       The Material Witness Statute provides that a magistrate judge may order the arrest of a

person “[i]f it appears from an affidavit filed by a party that the testimony of a person is material

in a criminal proceeding, and if it is shown that it may become impracticable to secure the presence

of the person by subpoena.” 18 U.S.C. § 3144. The Second Circuit Court of Appeals has held that

a grand jury proceeding is a “criminal proceeding” for purposes of § 3144. United States v.

Awadallah, 349 F.3d 42, 55 (2d Cir. 2003). The court of appeals considered the phrase “criminal

proceeding” in the context of the statute, as used in other statutes, and as defined by Black’s Law

Dictionary and determined that the phrase might be read to include a grand jury proceeding or it

might not. Id. at 52-53. It then turned to the legislative history, including a footnote to the Senate

Judiciary Committee Report advising that “[a] grand jury investigation is a ‘criminal proceeding’

within the meaning of this section. Bacon v. United States, 449 F.2d 933 (9th Cir.1971).” Id. at

54 (quoting S.Rep. No. 98–225, at 28 (1983)). The Bacon case cited in the Report had interpreted

the nearly identical predecessor to § 3144 as encompassing grand juries. Id. The court of appeals

explained “[w]hen Congress enacted § 3144—and until the district court ruled otherwise in this

case—there was a settled view that a grand jury proceeding is a ‘criminal proceeding’ for purposes

of the material witness statute. We therefore conclude that a grand jury proceeding is a ‘criminal

proceeding’ for purposes of § 3144.” Id. at 55.

       The Material Witness Statute further provides that:

       No material witness may be detained because of inability to comply with any
       condition of release if the testimony of such witness can adequately be secured by

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        deposition, and if further detention is not necessary to prevent a failure of justice.
        Release of a material witness may be delayed for a reasonable period of time until
        the deposition of the witness can be taken pursuant to the Federal Rules of Criminal
        Procedure.

18 U.S.C. § 3144. Federal Rule of Criminal Procedure 15(a)(2) provides that “[a] witness who is

detained under 18 U.S.C. § 3144 may request to be deposed by filing a written motion and giving

notice to the parties. The court may then order that the deposition be taken and may discharge the

witness after the witness has signed under oath the deposition transcript.” Fed. R. Crim. P. 15(a)(2).

        Other courts’ decisions considering similar cases involving foreign seamen have turned on

the stage of the government’s investigation. For example, in Matter of Grand Jury Proc.

[Redacted], the court applied the standard set out by § 3144 and assessed whether “the testimony

of the Movants ‘can adequately be secured by deposition, and [whether] further detention is not

necessary to prevent a failure of justice.’” 5 377 F. Supp. 3d 439, 445 (D. Del. 2018). The witnesses

had been detained—at first pursuant to an agreement between the corporate parties and the

government, and later by court order—for almost nine months, and the government reported that

the investigation was nearly complete. Id. at 447-49. The court considered that the targets of the

investigation could be prejudiced if they were required to cross examine the witnesses before

charges were filed and evidence was fully developed. Id. at 447. The court considered that

constitutional issues might render the depositions inadmissible at trial, which would leave the

government without material witness testimony that might be needed to prove its case. Id. The

court also considered the serious burden of continued detention on the witnesses. Id. at 448. The

court denied the request for depositions and release without prejudice and ordered a hearing one




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 The government had argued that the “exceptional circumstances” test required by Rule 15(a)(1) applied, but the court
rejected that argument. 377 F. Supp. at 444. The government here does not contend that exceptional circumstances
are required to order a deposition.

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month later to allow the investigation to complete. Id. at 449. The court stated that it was inclined

to set the depositions shortly after that hearing. Id.

        In United States v. Dalnave Navigation, the witnesses had been “detained” for over six

months, the agreement with the corporations had expired about a month earlier, the government

had taken over payment of their lodging expenses and a stipend, and an indictment had been

returned against two individuals and the vessel operator. No. CRIM. 09-130, 2009 WL 743100, at

*2 (D.N.J. Mar. 18, 2009). A motion to vacate the warrants had been filed by the witnesses prior

to the indictment being issued but had been reserved by the court based on the witnesses’ planned

motion for Rule 15 depositions. Id. The court ordered the Rule 15 depositions begin within two

weeks and be completed within two weeks and that the witnesses be released immediately

thereafter. Id.

        The court similarly ordered depositions be taken in In re Mercator Lines Ltd. (Singapore)

Pte. Ltd.. No. CRIM. 11-MJ-00203-N, 2011 WL 10637454, (S.D. Ala. Oct. 25, 2011). There, the

court ordered that the vessel master’s deposition be taken within 45 days and that thereafter, a

hearing would be set and the government would be required to show why he should not be released.

Id. at *10. The vessel had only been arrested about a month earlier. Id. at *1. The government

had argued that pre-indictment depositions would cause a failure of justice to occur by forcing it

to disclose investigative material to previously-unidentified targets. Id. at *9. The court considered

that the government had sufficient documentation seized from the vessel and transcripts of

interviews with two crewmembers to determine whether the master (responsible for signing the

ORB) had knowledge that he was authenticating incomplete or incorrect information such that it

could determine whether the master was the target of an investigation and further that the




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government would have two more opportunities to present information to the grand jury prior to

the deposition deadline. Id. at *10.

   2. Movants’ Arguments

           a. Availability of the Material Witness Statute

       Movants argue that § 3144 is not available here because the government is merely

conducting an investigation but there is no “criminal proceeding.” They submit that the

government has cited no law to support finding that an investigation that might lead to a grand jury

investigation is a criminal proceeding within the meaning of § 3144. They argue, without citation

to authority, that the “primary purpose” of the statute is to protect the rights of a defendant in an

actual criminal proceeding to compulsory process. They insist the warrant must be dissolved.

       The movants further describe the Second Circuit’s decision in Awadallah as bad law

created in the wake of the 9-11 terrorist attacks and argue that § 3144 should not even be interpreted

as applying to grand jury proceedings. They cite cases interpreting the phase “criminal

proceedings” in other contexts. They do not address the legislative history analyzed by the

Awadallah court. Without citation to any authority, they argue that Congress could not have

wanted to give the government the unfair advantage of being able to detain potential witnesses

before the potential defendant is afforded the rights of an actual criminal defendant. Again without

citation to authority, they submit that the government often chooses not to file complaints to ensure

that no defendant has rights to a speedy trial under the Speedy Trial Act or the Sixth Amendment.

They point out that form AO 443 (Rev. 11/11) used by the Court in ordering the arrest of the

material witnesses in this case is titled “Warrant for the Arrest of a Witness or Material Witness in

a Pending Criminal Case.” (Rec. Doc. 9). They submit this shows that the court understands §

3144 to apply to pending criminal cases.



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       The government points out that no court has held that § 3144 does not apply to grand jury

proceedings. It adds that the court need not decide whether § 3144 applies where there is no grand

jury proceeding because here, there is now a grand jury proceeding.

       The court finds no basis to stray from the reasoning of the court of appeals in Awadallah.

The witnesses’ arguments here about what Congress must have intended are unsupported, and their

examples of how the phrase “criminal proceedings” has been interpreted are cherry picked from

contexts other than § 3144. In contrast, the Second Circuit in Awadallah considered a wide variety

of statutes and precedent interpreting “criminal proceedings” and ultimately analyzed the

legislative record to settle on its conclusion that “criminal proceedings” in § 3144 includes grand

jury proceedings. This court is especially convinced by the fact that, as observed by the Awadallah

court, Ninth Circuit Court of Appeals precedent at the time held that the nearly identical

predecessor to § 3144 encompassed grand jury investigations and the Senate Judiciary Committee

Report cited this precedent in advising that grand jury investigations are criminal proceedings

within the meaning of § 3144. Additionally, the court notes that Federal Rule of Criminal

Procedure 46(h)(2) provides that “[a]n attorney for the government must report biweekly to the

court, listing each material witness held in custody for more than 10 days pending indictment,

arraignment, or trial.” Fed. R. Crim. P. 46(h)(2) (emphasis added). This shows that the detention

of witnesses material to a grand jury investigation are contemplated by the Federal Rules. The

court here follows the Second Circuit and interprets “criminal proceedings” in § 3144 as including

grand jury proceedings.


   3. Constitutionality of the Material Witness Statute

       The witnesses next argue that even as applied to a pending criminal case, the Material

Witness Statute raises constitutional concerns. They argue that the government is using the


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Material Witness Warrant as a general warrant to arrest someone who may have played a role in

alleged improper conduct while they collect sufficient evidence to establish probable cause that

the person did so.

        The government points out that the witnesses rely merely on concurring opinions of the

Supreme Court in Ashcroft v. al-Kidd, 563 U.S. 731 (2011), the decisions reversed by the majority

of the Supreme Court in that case, and law review articles. The government submits that the

majority of the Supreme Court in al-Kidd held that reasonableness under the Fourth Amendment

is primarily an objective inquiry allowing objectively reasonable actions on the government’s part.

It argues that the witnesses may not like the statute or the holdings of al-Kidd and Awadallah, but

the statute is constitutional.

        Indeed, although the movants seek to construe the holdings and analysis of the courts in al-

Kidd and Awadallah narrowly, these cases support finding the Material Witness Statute can be

applied constitutionally to detain individuals with information material to a grand jury

investigation. The Second Circuit in Awadallah considered judicial precedent upholding the

constitutionality of similar statutes allowing for detention or arrest of grand jury witnesses and

also considered the safeguards provided by § 3144 (release after deposition and/or release after

bail hearing) to conclude that applying the statute in the case before it did not raise constitutional

concerns generally or as to the witness at issue specifically. 349 F.3d at 56-64. The witness in

Awadallah had been detained for 20 days before testifying before the grand jury and allegedly

perjuring himself, resulting in his arrest on perjury charges nine days later. Id. at 63-64. He had

received two bail hearings within days of his arrest. Id. at 64.

        As the witnesses point out in reply, the court of appeals in Awadallah observed that “[t]he

district court noted (and we agree) that it would be improper for the government to use § 3144 for



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other ends, such as the detention of persons suspected of criminal activity for which probable cause

has not yet been established.” Id. at 59. But the majority of the Supreme Court in al-Kidd rejected

consideration of subjective intent of the government. The witness in al-Kidd had been arrested on

his way to Saudi Arabia, held in custody for 16 days, and then subjected to supervised release for

14 months until the trial of the defendant. 563 U.S. at 734. The witness was never called at the trial

and filed a Bivens action to challenge the constitutionality of the Attorney General’s alleged policy

of pretextually detaining individuals who would not be called as witnesses but who had suspected

ties to terrorist organizations though the government lacked sufficient evidence to charge them. Id.

The witness conceded that “individualized suspicion supported the issuance of the material-

witness arrest warrant; and [did] not assert that his arrest would have been unconstitutional absent

the alleged pretextual use of the warrant.” 563 U.S. at 740. The Supreme Court rejected creating

an exception to the general rule of Fourth Amendment analysis and held “that an objectively

reasonable arrest and detention of a material witness pursuant to a validly obtained warrant cannot

be challenged as unconstitutional on the basis of allegations that the arresting authority had an

improper motive.” Id. at 744.

       The Supreme Court considered the argument, reiterated by the witnesses here, that a

pretextual warrant is like the English Crown’s use of general warrants and explained:

       [The Attorney General] must be forgiven for missing the parallel, which escapes us
       as well. The principal evil of the general warrant was addressed by the Fourth
       Amendment's particularity requirement, which [the Attorney General]'s alleged
       policy made no effort to evade. The warrant authorizing al-Kidd's arrest named al-
       Kidd and only al-Kidd. It might be argued, perhaps, that when, in response to the
       English abuses, the Fourth Amendment said that warrants could only issue “on
       probable cause” it meant only probable cause to suspect a violation of law, and not
       probable cause to believe that the individual named in the warrant was a material
       witness. But that would make all arrests pursuant to material-witness warrants
       unconstitutional, whether pretextual or not—and that is not the position taken by
       al-Kidd in this case.



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Id. at 742-43 (citation omitted).

        As the witnesses here point out, the Court in al-Kidd did not address whether the warrant

was validly obtained. That is because the witness conceded this point. And it is true that the

concurring opinions raised concerns about whether the warrant had been validly obtained in light

of questions about omissions and misrepresentations in the affidavit. Id. at 744 (Kennedy, J.,

concurring); id. at 749 (Ginsburg, J., concurring); id. at 751-52 (Sotomayor, J., concurring). But

the witnesses here do not raise similar challenges to the affidavit supporting the warrants. They do

not allege that the government has misrepresented whether the witnesses have evidence material

to their investigation or that it may become impracticable to secure their presence by subpoena,

though the witnesses do offer assurances that they will return if and when needed. By comparison,

in al-Kidd, Justice Ginsburg observed certain defects in the affidavit submitted to the magistrate

judge, including omission of the fact that the witness’s parents, wife, and children were citizens

and residents of the United States and the fact that the witness had cooperated with the FBI several

times when they asked to interview him, as well as misrepresenting that he had a one way first

class ticket to Saudi Araba when he actually had a round trip coach ticket. Id. at 749 (Ginsburg, J.,

concurring).

        When asked to consider the subjective intent of the government in its use of the Material

Witness Statute, the majority of the Supreme Court rejected the invitation. While this court can

consider whether the warrants in this case were validly issued, it cannot strike otherwise valid

warrants because the government may also be contemplating charging some or all of these

witnesses 6 This is not a case where the movants contend their detention is entirely pretextual. They

do not claim that their testimony is immaterial or cumulative or unnecessary to the grand jury


6
 Belying any such improper intent, were intent relevant, since the motion was filed, five of the seven witnesses have
been offered immunity and have appeared before the grand jury.

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investigation or that they have some particularized basis to believe that the government will never

call these witnesses. The undersigned has already found probable cause supports the issuance of

the warrants and the witnesses have presented no basis to change the undersigned’s finding that

their testimony is material in a criminal proceeding and that it may become impracticable to secure

their appearance by subpoena. Accordingly, the warrants are facially valid and as a result,

following the guidance of the Supreme Court in al-Kidd, the government’s subjective intent is not

a relevant constitutional consideration.

    4. Immunity under 18 U.S.C. § 6002

         The witnesses argue that they must be provided with immunity under 18 U.S.C. §6002. As

noted above, witnesses Nalagon, Gonzaga, Bernabe, Baliad, and Cabanayan have already been

granted § 6002 immunity. It is believed that counsel are working out the logistics of Akkaya’s

grand jury appearance. It is also believed that no decision has yet been made regarding Chief

Engineer Tan. Thus, this issue remains live only as to Tan.

         The witnesses argue that the government’s refusal to grant Tan immunity shows that it is

using the Material Witness Statute to hold him as a potential defendant. They insist the government

cannot hold him for this purpose indefinitely.

         The government argues that they have to follow certain procedures to be able to offer §

6002 immunity7 and that they typically require a proffer first so that they know what the testimony

will be.




7
  Section 6002 provides that when a witness refuses to testify on the basis of self-incrimination, the person be ordered
to testify under § 6002:
          but no testimony or other information compelled under the order (or any information directly or indirectly
          derived from such testimony or other information) may be used against the witness in any criminal case,
          except a prosecution for perjury, giving a false statement, or otherwise failing to comply with the order.
18 U.S.C. § 6002.

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        To the extent the witnesses raise this argument in support of their allegation that the use of

a Material Witness Warrant here is a pretext, the court has already rejected consideration of the

government’s subjective intent. There is probable cause for issuance of the warrant under § 3144;

whether the government also plans to charge some or all of the witnesses at a later time is

irrelevant. Moreover, the government has demonstrated that immunity will be provided to obtain

the witnesses’ testimony. At this time, the court has found that Tan remains material to the criminal

proceeding, but the investigation has not proceeded far enough that his testimony can be

adequately secured now.

    5. Should the warrant be stricken in the court’s discretion and in consideration of the
       equities?

        The witnesses submit that the Material Witness Statute does not compel the court to issue

a warrant. Citing Justice Ginsburg’s concurrence in al-Kidd, they say the “issuance of the warrant

is discretionary.” Ashcroft v. al-Kidd, 563 U.S. 731, 748, n.2 (Ginsburg, J., concurring). They

argue that the court should exercise its discretion not to detain the witnesses here because

possession of misleading records concerning high seas operations should not be a crime prosecuted

by the port state and that even if it could, it is not a sufficiently serious crime to justify detaining

innocent seafarers. They submit that many seafarers detained in similar circumstances are never

called to testify. They also submit that in the experience of their counsel’s office, seafarers who

are released do return for trial or make their testimony available through depositions. They further

argue that the regulations should not be interpreted as criminalizing the mere possession of

misleading records and that witnesses cannot be prosecuted for entries made on the high seas.

        The government responds that the witnesses’ arguments regarding MARPOL, APPS, and

International Law are inapposite and contrary to controlling Fifth Circuit precedent. Indeed, in

United States v. Jho, the Fifth Circuit held that:

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        We refuse to conclude that by imposing limitations on the APPS's application to
        foreign-flagged vessels Congress intended so obviously to frustrate the
        government's ability to enforce MARPOL's requirements. Instead, we read the
        requirement that an oil record book be “maintained” as imposing a duty upon a
        foreign-flagged vessel to ensure that its oil record book is accurate (or at least not
        knowingly inaccurate) upon entering the ports of navigable waters of the United
        States.

534 F.3d 398, 403 (5th Cir. 2008). The court also found that “MARPOL allows for concurrent

jurisdiction between a flag state and a non-flag state when MARPOL violations occur within the

jurisdiction of the non-flag state.” Id. at 403 n. 3.

        The movants point out that, interpreting the same regulations, the Fifth Circuit further held

that “[c]hief engineers on foreign-flagged vessels cannot, however, be prosecuted simply for

having previously failed to maintain an oil record book once a ship enters U.S. waters, since 33

C.F.R. § 151.25 assigns that duty explicitly and exclusively to the ‘master or other person having

charge of the ship.’” United States v. Fafalios, 817 F.3d 155, 162 (5th Cir. 2016) (emphasis added).

The court of appeals also recognized that a chief engineer might be charged with aiding and

abetting the failure to maintain an accurate record like the chief engineer in Jho. Id.

        The government also argues that other courts have imposed liability under 18 U.S.C. §1519

for falsification of records on the high seas in similar instances involving falsified ORBs. The

government submits that the Material Witness affidavit also addresses non-MARPOL offenses and

further argues that none of the movants’ arguments address the apparent violation of the PWSA.

        The movants’ motion seemed to argue that the crimes being investigated cannot even be

prosecuted and that, therefore, the warrants should be dissolved. In reply, however, they make

clearer that what they actually argue is that because MARPOL contemplates flag state enforcement

(even if it is concurrent to jurisdiction of the United States), because the witnesses (besides the

master) cannot be charged for failure to maintain ORB, because the government only uses the



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PWSA to enhance MARPOL/APPS charges and not as independent criminal violations where

there is no incident or damage, and because the government rarely uses the Material Witness

Warrant, this court should exercise its discretion to quash the warrant. The court finds these

considerations lie within the discretion of the government and not the Court. Subject to only

constitutional constraints, it is the government that decides what to investigate, who to charge, and

what to charge them with. See Wayte v. United States, 470 U.S. 598, 607 (1985) (quoting

Bordenkircher v. Hayes, 434 U.S. 357, 364) (“[S]o long as the prosecutor has probable cause to

believe that the accused committed an offense defined by statute, the decision whether or not to

prosecute, and what charge to file or bring before a grand jury, generally rests entirely in his

discretion.”) (alteration in original) ; United States v. Lovasco, 431 U.S. 783, 794–95 (1977) (“The

decision to file criminal charges, with the awesome consequences it entails, requires consideration

of a wide range of factors in addition to the strength of the Government's case, in order to determine

whether prosecution would be in the public interest.”). The court has addressed the witnesses’

constitutional challenge above. The movants have not shown that the investigation or potential

charges to which their testimony is material are themselves impossible or illegal. They have not

shown that their testimony is not material to the grand jury investigation. The court’s previous

finding of materiality remains. With regard to the witnesses’ willingness to return, the court is

sympathetic to their promises and the experience of counsel with other witnesses in other cases,

but once the witnesses are beyond the jurisdiction of this court, there is simply no way to enforce

their return. The court remains convinced that it is impracticable to secure the presence of the

witnesses by subpoena. And the court declines to exercise its discretion to quash the warrant on

the grounds that the witnesses believe the government should not be investigating the matter at all.




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    6. Modification of Conditions or Release Following Deposition

         The witnesses argue that even if the warrants are not stricken, they are entitled to be

released on the least restrictive conditions that will reasonably assure their testimony is preserved.

They submit that any information they have can be obtained promptly via a deposition as long as

they are given immunity. They also submit that if the grand jury issues an indictment, they will

appoint their counsel to accept any subpoena for them. The witnesses argue that the government’s

actions amount to requiring ship owners to pledge foreign seafarers as human collateral. They

submit that often witnesses are never called to testify, in some cases after being held under security

agreements for over a year. 8 They argue that a Rule 15(a)(2) deposition should be ordered here.

         The government does not oppose depositions pursuant to Rule 15, but argues that it is too

soon to hold them. It points out that an investigation has numerous steps, including the collection

and review of voluminous records, forensic examination of the computer system, and retention of

an expert to examine the Oil Content Monitor and analyze the ORB. The government submits that

if depositions were held now, the questions would be speculative. It adds that all potential parties

must be allowed an opportunity to participate in the depositions to prevent a future defendant from

arguing that the testimony cannot be used at trial because it had been unable to meaningfully

participate in the deposition to fully develop facts necessary to its defense. Conducting depositions

pre-indictment heightens this risk because without knowing who will be indicted, the government

cannot know which parties to include in the depositions, nor the charges and potential theories of

liability that will be identified. This, in turn, impacts and impedes the ability of the parties,

government and defendants alike, to prepare and meaningfully participate.




8
 As noted, five of the seven witnesses have already been called to testify at least once, all or most within two months
of their detention.

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        Section 3144 requires that the witnesses cannot be detained if their testimony can

adequately be secured by deposition and if further detention is not necessary to prevent a failure

of justice. The court agrees that it is too soon to conduct Rule 15 depositions for trial both because

the investigation is still developing such that the government could not be sure it was eliciting the

testimony it needed and because the defendants have not yet been identified such that they could

prepare for and meaningfully participate in the deposition. But the witnesses insist they should be

deposed in single party depositions in lieu of testifying live before the grand jury and that they

should be released thereafter. They argue that the present material witness warrants pertain to the

grand jury investigation and not a future, hypothetical judicial criminal proceeding. They argue

that once their grand jury testimony has been secured, they cannot be forced to remain in this

district just because an indictment may issue at some time in the future and their testimony may

be material to the resulting trial.

        The government has made clear that single party depositions will not suffice for the grand

jury investigation. They have already called five witnesses to testify, arguably mooting the

suggestion by plaintiffs that they be deposed in lieu of testifying live. The government further

notes that it has had to recall some of the witnesses after they first testified because of information

discovered subsequent to their testimony. The court agrees that to the extent the issue is not moot,

a single party deposition taken at this time will not ensure that the witnesses are no longer

necessary. In part because of the push by the court and the witnesses to quickly obtain their

testimony, the witnesses have been called to testify before the investigation was sufficiently

developed for the government to be able to ask all necessary questions. The government is still

actively obtaining and reviewing data and documents and may require additional testimony of the




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witnesses. The court has reviewed the status reports filed by the government ex parte 9 in advance

of the May 17, June 1, and June 14, 2021, status conferences and has discussed in detail the status

of the investigation with the government at each conference. At this time, the court remains

convinced that the testimony of each the witnesses is material to the grand jury proceedings. The

court will continue to receive status updates from the government on a bi-weekly basis to ensure

that they are not being forced to stay in this district longer than necessary. 10

         The government has not taken an explicit position as to whether it must obtain a new

material witness warrant if and when an indictment is issued and the testimony of the witnesses

becomes necessary to the trial of the forthcoming charges. 11 As a practical matter, the grand jury

investigation will be ongoing until the indictment is issued or the government concludes it is unable

to obtain an indictment. If the witnesses’ testimony remains material to the grand jury proceedings

until the indictment is issued, the court’s order requiring them to relinquish their passports and



9
  Government attorneys are prohibited from publicly disclosing any information regarding a grand jury investigation
by Federal Rule of Criminal Procedure Rule 6(e). Because of this limit and because of the public policy reasons for
maintaining secrecy of grand jury proceedings, e.g., United States v. Procter & Gamble Co., 356 U.S. 677, 681 (1958),
the court has authorized the filing of the status reports and at least part of the status conference discussion to be ex
parte and under seal.
10
   Although the government takes the position that Rule 46(h)(2) is inapplicable here because the witnesses are not
being “held in custody,” that rule provides a procedure to prevent the abuse of material witness warrants. It provides
that
         An attorney for the government must report biweekly to the court, listing each material witness held in
         custody for more than 10 days pending indictment, arraignment, or trial. For each material witness listed in
         the report, an attorney for the government must state why the witness should not be released with or without
         a deposition being taken under Rule 15(a).

Fed. R. Crim. P. 46(h)(2). The court has adopted a similar procedure here, regardless of whether the rule technically
applies. Based on these status conferences, and highly cognizant of the hardship being imposed on these foreign
seamen, the court is satisfied that the government is moving aggressively to conduct discovery, investigate the case,
and present it to the grand jury, despite some unusual obstacles beyond the government’s or the court’s control. It
should be noted that the court system is just returning to live proceedings after COVID-19. Getting and keeping a
grand jury quorum has proven difficult on numerous days. It has not helped that the term of a grand jury extended as
a result of COVID-19 is ending and a new grand jury is being empaneled at the end of June, creating a continuity
issue. Furthermore, the court is aware of discovery battles being fought under the supervision of the district judge.
11
   The court recognizes that this issue was raised in the witnesses’ Reply brief (Rec. Doc. 37) and more robustly
developed in their first Supplemental Memorandum (Rec. Doc. 57). The government has not filed any briefs since
their Opposition, and, as such, has not addressed the issue squarely. (Rec. Doc. 36).

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stay in the United States remains proper. Then, to the extent a new material witness warrant is

required, it will likely be possible to obtain one with regard to the ensuing criminal proceeding

nearly simultaneously. In that case, the issue raised by the witnesses is moot. But, there remains

the possibility that the testimony of some or all of the witnesses will cease to be material in advance

of that time. At present, that issue is premature because the witnesses remain material to the grand

jury proceeding. Moreover, the government has not yet had the opportunity to brief the issue, and,

accordingly, the court will take it under submission. The government will be allowed until July 2,

2021, to file a memorandum addressing its position.

   7. Extrajudicial conditions

       Tan also argues that the government should not be allowed to impose additional conditions

on him by virtue of its agreement with third parties. He asks that the government be directed to

cease its “illegal practice of contracting for extra-judicial restrictions on the liberty of innocent

human beings.” The government submits that this proceeding is not a proper vehicle to obtain

injunctive relief. It submits that the terms of the agreement with the owner and operator are

reasonable and that the agreement recognizes that the owner and operator cannot exercise complete

control over the crewmembers. For example, it provides a process for returning passports to

crewmembers upon their request. It adds that the reason the crew are having their lodging, salary,

medical care, and a per diem paid for is because of the security agreement. At oral argument, the

government argued that although it has no evidence of Tan pressuring the other witnesses, in nearly

every other case they have handled, there has been some form of obstruction of justice and/or

witness tampering. The government argued that the Coast Guard’s condition of requiring that the

chief engineer be lodged separately from the rest of the crew is reasonable under the circumstances.

The government argued that although the witnesses could all still meet together, if the other



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witnesses are not staying at the same hotel, they can decide for themselves whether to meet with

the chief engineer.

       Since the filing of the motion, Tan returned to the Philippines.        Thus, the security

agreement’s requirement that he remain in a separate hotel was mooted, at least temporarily. Upon

his return in mid-June, Tan reurged his motion to not stay in a different hotel. At this time, the

court is not convinced that being housed at a separate hotel is an unreasonable hardship. The

witnesses all appear to have at least a basic command of English, and, as the government notes,

they are free to meet with one another. Being housed at different locations is a reasonable

precaution against pressure being put on the lower level witnesses.

                                           Conclusion

       For the foregoing reasons, the Motion to Quash is DENIED, except as to the issue of

whether the grand jury proceeding and the anticipated future court proceeding are separate

proceedings under § 3144. The government shall file a memorandum addressing its position on

this issue by July 2, 2021. Further, the government will continue to report to the court on a bi-

weekly basis regarding the continued need for the witnesses to remain in this district for purposes

of the grand jury investigation.

       New Orleans, Louisiana, this 18th day of June, 2021.



                                                         Janis van Meerveld
                                                     United States Magistrate Judge




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